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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

    SIGHT SCIENCES, INC.,                   )
                                            )
                 Plaintiff,                 ) Redacted - Public Version
                                            )
      v.                                    ) C.A. No. 21-1317-GBW-SRF
                                            )
    IVANTIS, INC., ALCON RESEARCH           )
    LLC, ALCON VISION, LLC, and ALCON       )
    INC.,                                   )
                                            )
                 Defendants.                )


                         ALCON’S RESPONSES TO SIGHT’S
                    CONCISE STATEMENTS OF ADDITIONAL FACTS

                                             John W. Shaw (No. 3362)
                                             Karen E. Keller (No. 4489)
                                             Andrew E. Russell (No. 5382)
                                             Nathan R. Hoeschen (No. 6232)
    OF COUNSEL:                              SHAW KELLER LLP
    Gregg LoCascio                           I.M. Pei Building
    Sean McEldowney                          1105 North Market Street, 12th Floor
    Justin Bova                              Wilmington, DE 19801
    Steven Dirks                             (302) 298-0700
    Socrates L. Boutsikaris                  jshaw@shawkeller.com
    KIRKLAND & ELLIS LLP                     kkeller@shawkeller.com
    1301 Pennsylvania Avenue, N.W.           arussell@shawkeller.com
    Washington, DC 20004                     nhoeschen@shawkeller.com
    (202) 389-5000                           Attorneys for Defendants

    Jeanne M. Heffernan
    Kat Li
    Ryan J. Melde
    KIRKLAND & ELLIS LLP
    401 Congress Avenue
    Austin, TX 78701
    (512) 678-9100
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    Ryan Kane
    Nathaniel DeLucia
    Emily Sheffield
    KIRKLAND & ELLIS LLP
    601 Lexington Avenue
    New York, NY 10022
    (212) 446-4800

    Brian A. Verbus
    Jacob Rambeau
    KIRKLAND & ELLIS LLP
    300 N. LaSalle
    Chicago, IL 60654
    (312) 862-2000

    Noah Frank
    KIRKLAND & ELLIS LLP
    200 Clarendon Street
    Boston, MA 02116
    (617) 385-7500

    Dated: November 16, 2023
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          Pursuant to Paragraph 14(b) of the Scheduling Order (D.I. 93), Alcon submits its responses

   to Sight’s concise statements of additional facts (“Resp. SOF”) with its reply brief in support of its

   motions for summary judgment of invalidity:

          1.      Response to D.I. 328, Sight’s Concise Statement of Additional Facts in Support of

   Sight’s Opposition to Alcon’s Summary Judgment Motion No. 1 (“Resp. SOF1”) (Ex. 1).

          2.      Response to D.I. 329, Sight’s Concise Statement of Additional Facts in Support of

   Sight’s Opposition to Alcon’s Summary Judgment Motion No. 2 (“Resp. SOF2”) (Ex. 2).

          3.      Response to D.I. 330, Sight’s Concise Statement of Additional Facts in Support of

   Sight’s Opposition to Alcon’s Summary Judgment Motion No. 3 (“Resp. SOF3”) (Ex. 3).

          4.      Response to D.I. 331, Sight’s Concise Statement of Additional Facts in Support

   of Sight’s Opposition to Alcon’s Summary Judgment Motion No. 4 (“Resp. SOF4”) (Ex. 4).




    OF COUNSEL:                                          /s/ Andrew Russell
    Gregg LoCascio                                       John W. Shaw (No. 3362)
    Sean M. McEldowney                                   Karen E. Keller (No. 4489)
    Justin Bova                                          Andrew E. Russell (No. 5382)
    Steven Dirks                                         Nathan R. Hoeschen (No. 6232)
    Socrates L. Boutsikaris                              SHAW KELLER LLP
    KIRKLAND & ELLIS LLP                                 I.M. Pei Building
    1301 Pennsylvania Avenue, N.W.                       1105 North Market Street, 12th Floor
    Washington, DC 20004                                 Wilmington, DE 19801
    (202) 389-5000                                       (302) 298-0700
                                                         jshaw@shawkeller.com
    Jeanne M. Heffernan                                  kkeller@shawkeller.com
    Kat Li                                               arussell@shawkeller.com
    Ryan J. Melde                                        nhoeschen@shawkeller.com
    KIRKLAND & ELLIS LLP                                 Attorneys for Defendants
    401 Congress Avenue
    Austin, TX 78701
    (512) 678-9100




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Case 1:21-cv-01317-GBW-SRF Document 367 Filed 11/22/23 Page 4 of 38 PageID #: 27636




    Ryan Kane
    Nathaniel DeLucia
    Emily Sheffield
    KIRKLAND & ELLIS LLP
    601 Lexington Avenue
    New York, NY 10022
    (212) 446-4800

    Brian A. Verbus
    Jacob Rambeau
    KIRKLAND & ELLIS LLP
    300 N. LaSalle
    Chicago, IL 60654
    (312) 862-2000

    Noah S. Frank
    KIRKLAND & ELLIS LLP
    200 Clarendon Street
    Boston, MA 02116
    (617) 385-7500

    Dated: November 16, 2023




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                           Exhibit 1
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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

    SIGHT SCIENCES, INC.,                   )
                                            )
                 Plaintiff,                 )
                                            )
      v.                                    ) C.A. No. 21-1317-GBW-SRF
                                            )
    IVANTIS, INC., ALCON RESEARCH           )
    LLC, ALCON VISION, LLC, and ALCON       )
    INC.,                                   )
                                            )
                 Defendants.                )

      ALCON’S RESPONSE TO SIGHT’S CONCISE STATEMENT OF ADDITIONAL
           FACTS IN SUPPORT OF SIGHT’S OPPOSITION TO ALCON’S
                    SUMMARY JUDGMENT MOTION NO. 1

                                             John W. Shaw (No. 3362)
                                             Karen E. Keller (No. 4489)
                                             Andrew E. Russell (No. 5382)
                                             Nathan R. Hoeschen (No. 6232)
    OF COUNSEL:                              SHAW KELLER LLP
    Gregg LoCascio                           I.M. Pei Building
    Sean McEldowney                          1105 North Market Street, 12th Floor
    Justin Bova                              Wilmington, DE 19801
    Steven Dirks                             (302) 298-0700
    Socrates L. Boutsikaris                  jshaw@shawkeller.com
    KIRKLAND & ELLIS LLP                     kkeller@shawkeller.com
    1301 Pennsylvania Avenue, N.W.           arussell@shawkeller.com
    Washington, DC 20004                     nhoeschen@shawkeller.com
    (202) 389-5000                           Attorneys for Defendants

    Jeanne M. Heffernan
    Kat Li
    Ryan J. Melde
    KIRKLAND & ELLIS LLP
    401 Congress Avenue
    Austin, TX 78701
    (512) 678-9100
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    Ryan Kane
    Nathaniel DeLucia
    Emily Sheffield
    KIRKLAND & ELLIS LLP
    601 Lexington Avenue
    New York, NY 10022
    (212) 446-4800

    Brian A. Verbus
    Jacob Rambeau
    KIRKLAND & ELLIS LLP
    300 N. LaSalle
    Chicago, IL 60654
    (312) 862-2000

    Noah Frank
    KIRKLAND & ELLIS LLP
    200 Clarendon Street
    Boston, MA 02116
    (617) 385-7500

    Dated: November 16, 2023
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          1.      Disputed. The Block Limitation claims have no common structural features that

   meaningfully limit the claims or guide a POSA on how to achieve the claimed function. D.I. 298-

   17 §XVII.A; D.I. 298-18 §XX.A. The only “structure” common to all Asserted Claims is

   “support.” Sight’s example “structural limitations” (a)-(i) are generic structures and nothing in the

   specification indicates that having any of these achieves the claimed result. Dr. Downs admits

   these limitations on their own would not satisfy the claimed result. See, e.g., D.I. 298-24 at 145:25-

   146:13 (radius of curvature); D.I. 298-15 ¶¶1091 (prop), 1084; D.I. 298-24 at 129:10-24, 140:13-

   141:14 (minimal contact); Ex. 67 at 191:22-193:6 (same). There are no working examples or clear

   guidance in the specification that explain what configurations, shapes, or features must be present

   to achieve the claimed function. D.I. 298-17 §XVII.A; D.I. 298-18 §XX.A. Dr. Downs also

   admitted a POSA would need to conduct a trial-and-error process to determine the full scope of

   the claims. See, e.g., D.I. 298-24 at 86:6-19, 87:13-88:22, 98:10-100:11, 103:5-15, 105:23-106:5.

          2.      Disputed. The Asserted Patents do not describe “prop[ping] open Schlemm’s canal

   while having minimal contact” as a common characteristic of devices that achieve the Block

   Limitation. See, e.g., D.I. 298-1 at 10:61-65 (“A common characteristic of the support

   configurations…is that they need not have continuous or extensive contact with a wall of

   Schlemm’s canal. Indeed, many of the described devices and structures have minimal tangential,

   periodic, or sporadic contact with the wall.” (emphasis added)); see also supra ¶1. Minimal,

   tangential, and periodic contact are claimed in dependent claims and therefore, by definition,

   cannot be common characteristics. See D.I. 298-1, cls. 2, 3, 7, 33, 34, 38, 65, 66, 69; D.I. 287 at 2

   (construing “periodic contact” as “contact that is interrupted by a non-contact point”).

          3.      Disputed. The specification and two-dimensional figures provide no detail about

   the many variables of the support (e.g., length, material, size, features), and many of these are not




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   shown as propping because they are not depicted as implanted. D.I. 298-18 ¶¶504-505. Dr. Downs

   admits he did not analyze whether the disclosed supports meet the surface area contact limitation

   and could only make an “educated guess” that Figure 9A would “not substantially interfere with

   flow.” D.I. 298-24 at 130:14-132:4; 132:15-134:11. The inventors also argued that a POSA “would

   not be able to determine the amount contact of any one of [the cited prior art’s] devices with any

   degree of certainty from the figures alone.” Ex. 74 at 2814.

          4.      Disputed. Dr. Downs testified that to determine the full scope of the Block

   Limitation claims, a POSA would apply an extensive winnowing process (select, model, and test)

   to all “candidate devices that one would consider is likely to lower intraocular pressure.” D.I. 298-

   24 at 87:13-88:22; see also id. at 98:1-100:11. This experimentation requires considerable time

   and expense for each individual device. Id. at 35:7-25, 98:10-100:11, 105:23-106:5, 114:25-115:6,

   117:13-119:9; D.I. 298-41; D.I. 298-54; D.I. 298-55 at -702-703; D.I. 298-25 at 122:23-123:14.

   The only devices Dr. Downs explained a POSA could weed out without testing were those that

   common sense would dictate could not be implanted (e.g., “a big, round, solid object”). D.I. 298-

   24 at 86:6-19; id. at 87:13-88:22, 95:6-96:11, 98:1-100:11. Dr. Downs explained that “[b]est

   practice” as of 2006 would have been to model and then do perfusion testing in cadaver eyes, i.e.,

   a two-step experimentation for each. D.I. 298-15 ¶1071. Dr. Downs did not analyze whether any

   embodiments could be implanted. D.I. 298-24 at 130:14-132:4, 132:15-134:11.

          5.      Disputed. See supra ¶4.

          6.      Disputed but immaterial. At the time of Alcon’s statements about prior art, Sight’s

   only interpretation of the Block Limitation was based on increased outflow and whether a device

   permitted flow. D.I. 59-1, Ex. M at 9-13; D.I. 332-5 at 39-41 (opining that prior art devices with

   openings improve outflow). The prior art undisputedly discloses fenestrations, non-contact points,




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    and arcuate members. D.I. 298-15 §§VII.A.1.c, A.3.c, B.1.c, B.3.c, C.2.d, C.4.c, D.1.c, 3.c, E.1.c,

    E.3.c, IX.A.1.a, A.3.a, B.1.a, B.3.a, C.1.b, C.3; see also, e.g., id. ¶¶228-232 (not disputing Lynch-

    984 discloses “arcuate member”); D.I. 298-18 ¶370; D.I. 298-24 at 158:25-160:11. Yet, Dr. Downs

    rejects Alcon’s approach to determining whether a device meets the Block Limitation and instead

    opines that membrane specific flow is required. D.I. 298-15 §§VII.A.1.c, B.1.c, C.1.d, D.1.c, E.1.c.

           7.      Disputed. The Block Limitation claims recite a biological result after a support is

    implanted that the Court has described as reducing IOP or increasing aqueous outflow. D.I. 273 at

    6-7. The “Field” of the Asserted Patents recites that biological response. D.I. 298-1 at 12-20. The

    Asserted Patents do not teach structural features that would lead to predicable effects on flow,

                                                                                               D.I. 298-

    54; D.I. 298-55; D.I. 298-25 at 184:2-185:5 (post-priority test of two stents got mixed results,

    including an increase in IOP). In addition, Dr. Downs admits that a POSA would perform models

    as only the first step in the iterative process of finding candidate devices followed by extensive

    perfusion studies. D.I. 298-24 at 87:13-88:22; 98:10-100:11; 105:23-106:5; see supra ¶4. Co-

    inventor David Badawi admitted that more tests should be done to determine functionality even

    after doing perfusion studies (the second step in Downs’s iterative process). Id.; D.I. 298-25 at

    175:16-177:5; 178:3-25; 181:12-16; 184:2-185:5; see also id. at 96:22-25, 122:23-123:5.

           8.      Disputed.

                                        Nor does Sight dispute that they have not explained how the

    Helix embodies the invention. D.I. 297 at 9 n.4.



                        D.I. 298-25 at 173:24-175:15, 182:3-23.

                                                                           . Exs. 75-77. David Badawi




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    admitted that more tests should be done to determine functionality. See supra ¶7.



                      Compare D.I. 298-29 at 115-16 with D.I. 298-1 at Figs. 8E-F. Sight provides

    zero evidence David Badawi contacted other manufacturers to seek their independent capabilities.

           9.      Disputed but immaterial. Sight does not dispute that determining the full scope of

    the Block Limitation claims would be undue even if analytical and computational modeling was

    routine. See supra ¶4. Even testing showing that a device facilitated and did not block flow is

    insufficient to determine whether the device would achieve a reduction in IOP. See supra ¶8.

           10.     Disputed. Dr. Downs admits outflow alone is not enough to determine whether the

    Block Limitation is satisfied. D.I. 298-15 ¶149 (disagreeing that prior art’s increased net efflux of

    aqueous meets the Block Limitation); D.I. 298-23 at 202:7-15.

           11.     Disputed. See supra ¶4.

           12.     Disputed. There is no evidence that fluorescent dye studies “visualize flow of

    aqueous humor through the trabecular meshwork and Schlemm’s canal” in vivo, and a POSA

    would not have been able to infer in vivo functionality from those studies. D.I. 301 ¶¶7-8; D.I.

    298-19 ¶109; D.I. 340-1 ¶¶165, 167-172; D.I. 340-37 at 214; Ex. 67 at 231:2-232:25, 236:3-237:7,

    239:1-8, 244:20-245:5, 284:11-285:22, 287:16-288:12; D.I. 340-36 at 689-690; D.I. 298-18 ¶537.

           13.     Disputed. Sight relies only on statements regarding what the Hydrus is designed to

    do                                                      but provides no evidence that fluid flows

    through the trabecular meshwork. See D.I. 292-22 at 415712, 415721; D.I. 292-10 at 94:21-23;

    D.I. 292-23 at 7001; D.I. 292-24 at 276226; D.I. 292-25 at 74723; D.I. 292-26 at 23768.

           14.     Disputed. See supra ¶13.




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                                             /s/ Andrew E. Russell
     OF COUNSEL:                             John W. Shaw (No. 3362)
     Gregg LoCascio                          Karen E. Keller (No. 4489)
     Sean M. McEldowney                      Andrew E. Russell (No. 5382)
     Justin Bova                             Nathan R. Hoeschen (No. 6232)
     Steven Dirks                            SHAW KELLER LLP
     Socrates L. Boutsikaris                 I.M. Pei Building
     KIRKLAND & ELLIS LLP                    1105 North Market Street, 12th Floor
     1301 Pennsylvania Avenue, N.W.          Wilmington, DE 19801
     Washington, DC 20004                    (302) 298-0700
     (202) 389-5000                          jshaw@shawkeller.com
                                             kkeller@shawkeller.com
     Jeanne M. Heffernan                     arussell@shawkeller.com
     Kat Li                                  nhoeschen@shawkeller.com
     Ryan J. Melde                           Attorneys for Defendants
     KIRKLAND & ELLIS LLP
     401 Congress Avenue
     Austin, TX 78701
     (512) 678-9100

     Ryan Kane
     Nathaniel DeLucia
     Emily Sheffield
     KIRKLAND & ELLIS LLP
     601 Lexington Avenue
     New York, NY 10022
     (212) 446-4800

     Brian A. Verbus
     Jacob Rambeau
     KIRKLAND & ELLIS LLP
     300 N. LaSalle
     Chicago, IL 60654
     (312) 862-2000

     Noah S. Frank
     KIRKLAND & ELLIS LLP
     200 Clarendon Street
     Boston, MA 02116
     (617) 385-7500

     Dated: November 16, 2023




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                             Exhibit 2
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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

     SIGHT SCIENCES, INC.,                   )
                                             )
                  Plaintiff,                 )
                                             )
       v.                                    ) C.A. No. 21-1317-GBW-SRF
                                             )
     IVANTIS, INC., ALCON RESEARCH           )
     LLC, ALCON VISION, LLC, and ALCON       )
     INC.,                                   )
                                             )
                  Defendants.                )


       ALCON’S RESPONSE TO SIGHT’S CONCISE STATEMENT OF ADDITIONAL
            FACTS IN SUPPORT OF SIGHT’S OPPOSITION TO ALCON’S
                     SUMMARY JUDGMENT MOTION NO. 2

                                              John W. Shaw (No. 3362)
                                              Karen E. Keller (No. 4489)
                                              Andrew E. Russell (No. 5382)
                                              Nathan R. Hoeschen (No. 6232)
     OF COUNSEL:                              SHAW KELLER LLP
     Gregg LoCascio                           I.M. Pei Building
     Sean McEldowney                          1105 North Market Street, 12th Floor
     Justin Bova                              Wilmington, DE 19801
     Steven Dirks                             (302) 298-0700
     Socrates L. Boutsikaris                  jshaw@shawkeller.com
     KIRKLAND & ELLIS LLP                     kkeller@shawkeller.com
     1301 Pennsylvania Avenue, N.W.           arussell@shawkeller.com
     Washington, DC 20004                     nhoeschen@shawkeller.com
     (202) 389-5000                           Attorneys for Defendants

     Jeanne M. Heffernan
     Kat Li
     Ryan J. Melde
     KIRKLAND & ELLIS LLP
     401 Congress Avenue
     Austin, TX 78701
     (512) 678-9100
Case 1:21-cv-01317-GBW-SRF Document 367 Filed 11/22/23 Page 15 of 38 PageID #: 27647




     Ryan Kane
     Nathaniel DeLucia
     Emily Sheffield
     KIRKLAND & ELLIS LLP
     601 Lexington Avenue
     New York, NY 10022
     (212) 446-4800

     Brian A. Verbus
     Jacob Rambeau
     KIRKLAND & ELLIS LLP
     300 N. LaSalle
     Chicago, IL 60654
     (312) 862-2000

     Noah Frank
     KIRKLAND & ELLIS LLP
     200 Clarendon Street
     Boston, MA 02116
     (617) 385-7500

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           1.      Disputed. D.I. 298-17 § XVIII; D.I. 298-18 § XXI; D.I. 297 at 14-18.

           2.      Disputed. See supra ¶ 1. Claims with the Block Limitation claim “supports” defined

    by biological function achieved when implanted and the specification does not provide

    representative species or common structural features to achieve that function. See infra ¶ 3.

           3.      Disputed but immaterial. The Asserted Patents provides non-limiting variables,

    including length, thickness, materials, curvature (D.I. 298-1 at 11:39-59, 12:55-13:46), yet do not

    provide any detailed examples (e.g., the dimensions or features) of any supports to determine

    whether they satisfy the Block Limitation or disclose that Figures 5B-12H represent supports that

    achieve the function. See generally D.I. 298-1; see also D.I. 298-18 ¶¶ 502-03. The Asserted

    Patents do not describe the two-dimensional Figures 5B-12H as making “minimal contact.” D.I.

    327 at 9; see also infra ¶ 6. Dr. Downs did not analyze the amount of contact made by supports

    shown in Figs 5B-12H or have an opinion on whether they were implantable or covered by the

    claims. D.I. 298-24 at 130:22-131:14, 132:15-135:5.

           4.      Disputed. Dr. Downs admitted that he did not analyze whether any embodiments

    in the Asserted Patents would satisfy the Block Limitation, only guessed as to whether one

    embodiment would substantially interfere with flow. D.I. 298-24 at 130:22-131:14, 132:15-135:5.

           5.      Disputed but immaterial. There are no “instructive examples.” See supra ¶ 3.

           6.      Disputed. The Asserted Patents do not describe “scaffolding” or “minimal contact”

    as common structural features that achieve the Block Limitation. See, e.g., D.I. 298-1 at 10:61-65

    (“A common characteristic of the support configurations described here is that they need not have

    continuous or extensive contact with a wall of Schlemm’s canal. Indeed, many of the described

    devices and structures have minimal tangential, periodic, or sporadic contact with the wall.”

    (emphasis added)). Minimal and tangential contact are claimed in dependent claims and therefore,

                                                     1
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    by definition, cannot be a common characteristic. See D.I. 298-1 cls. 2-3, 33-34, and 65-65

    (claiming “wherein the support” makes “minimal contact” or “tangential contact”). Dr. Downs

    also testified that minimal contact is not sufficient, on its own, to meet the Block Limitation. D.I.

    298-24 at 145:16-146-13; id. 140:13-141:14.

           7.      Disputed. D.I. 298-17 § XVIII; D.I. 298-18 § XXI; see also supra ¶¶ 3-6.

           8.      Disputed. Dr. Downs testified that 20% contact (undisputedly “minimal”) was

    insufficient to meet the Block Limitation. D.I. 332-10 at 129:7-24; see supra ¶6, 7.

           9.      Disputed. See supra ¶¶ 6, 8. Fenestrations, radius of curvature, and surface area

    contact are separately claimed and therefore cannot be “common characteristics.” D.I. 298-1 cl. 1

    (no radius of curvature); D.I. 298-5 cl. 2 (fenestration), cl. 13 (surface area contact).

           10.     Disputed. Dr. Downs could not say if there were more or less than one million

    supports that could be covered by the Asserted Claims. D.I. 298-24 at 34:19-35:5; D.I. 298-17 ¶

    1238 (“[T]he universe of possible supports is massive.”), ¶ 1239 (“The patents’ specification

    further demonstrates that the universe of supports is immense.”).

           11.     Disputed. The Block Limitation claims recite a biological result after a support is

    implanted that the Court has described as reducing intraocular pressure or increasing aqueous

    outflow. D.I. 273 at 6-7 (“[A] skilled artisan would evaluate whether a support ‘substantially

    interferes’ or ‘significantly blocks’ fluid flow in the eye ‘by determining whether and increase in

    aqueous outflux (and therefore a decrease in IOP) has been achieved by the support.’”). The

    “Field” of the Asserted Patents likewise recites that biological response: “[T]he devices, kits and

    methods relate to intraocular implants implantable into Schlemm’s canal that can reduce

    intraocular pressure without substantially interfering with fluid flow across Schlemm’s canal.” D.I.

    298-1 at 1:12-20. The Asserted Patents do not teach structural features that would lead to



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    predicable effects on flow, as evidenced by

                                 D.I. 298-54; D.I. 298-55; 298-25 at 184:2-185:5



                     . In addition, Dr. Downs admits that a POSA would perform models as only the

    first step in the iterative process of finding candidate devices and would then need to perform

    extensive experimentation. D.I. 298-24 at 87:13-88:22; 98:10-100:11; 105:23-106:5. Sight’s own

    CTO and co-inventor, David Badawi, admitted that more tests should be done to determine

    functionality even after perfusion studies (the second step in Downs’s iterative process). Id.; D.I.

    298-25 at 175:16-177:5; 178:3-25; 181:12-16; 184:2-185:5; see also id. at 96:22-25, 122:23-123:5.

           12.      Disputed. Sight provides no evidence that Alcon made statements that Hydrus

    “facilitates” fluid flow. Sight relies on statements reflecting only the design intent of the Hydrus

    to

                                     . D.I. 292-22 at IVANTIS_SS_00415712

                                                                                               ); id. at

    IVANTIS_SS_00415721                                                      ); D.I. 292-10 at 94:21-23

    (                                                                                 ); D.I. 292-23 at

    IVANTIS_SS_00007001

                                                           ); D.I. 292-24 at IVANTIS_SS_00276226

                                                               ); see also D.I. 298-14 ¶¶87-89, 91, 95-

    96; D.I. 298-16 ¶¶45-49, 51-52, 62.

           13.     Disputed. See supra ¶ 12.

           14.     Undisputed but immaterial. Dr. Downs testified that a POSA would have to model

    or test to determine the full scope of the Block Limitation claims. D.I. 298-24 at 98:10-100:11



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           15.     Disputed but immaterial. Sight’s “winnowing” process of modeling and

    experimentation requires extensive trial-and-error: modeling countless permutations with different

    configurations, shapes, materials, lengths, radii of curvature, and other variables, and then testing

    those models to determine which permutation of variables, if any, may achieve the Block

    Limitation function (D.I. 298-24 at 35:7-25; 98:10-100:11). Further, “a whole host” of

    assumptions not described in the Asserted Patents must be made. D.I. 298-24 at 73:9-75:6; see

    also id. 80:23-85:6, 98:10-99:13. Perfusions tests, in turn, require acquiring cadaver eyes from an

    eye bank, which Dr. Downs admits are unpredictable (D.I. 298-23 at 236:3-237:7), and testing that

    takes hours to days to complete for each eye. D.I. 298-55 at SGHT0161702-703 (193 hours); D.I.

    298-41 (5 days); D.I. 298-24 at 98:10-100:11, 105:23-106:5, 114:25-115:6. Each study costs

    upwards of “several thousand dollars.” D.I. 298-25 at 122:23-123:14; D.I. 298-24 at 117:13-119:9.

           16.     Disputed but immaterial. At the time of Alcon’s statements about prior art, Sight’s

    only interpretation of the Block Limitation was based on increased outflow and whether a device

    permitted flow. D.I. 59-1, Ex. M at 9-13; D.I. 332-5 at 39-41 (opining that prior art devices with

    openings improve outflow). The prior art undisputedly discloses fenestrations, non-contact points,

    arcuate members. D.I. 298-15 §§ VII.A.1.c, A.3.c, B.1.c, B.3.c, C.2.d, C.4.c, D.1.c, 3.c, E.1.c,

    E.3.c, IX.A.1.a, A.3.a, B.1.a, B.3.a, C.1.b, C.3; see also, e.g., id. ¶¶ 228-232 (not disputing Lynch-

    984 discloses “arcuate member”) D.I. 298-18 ¶ 370; D.I. 298-24 at 158:25-160:11 (testifying any

    dispute would have been in his Report). Yet, Dr. Downs rejects Alcon’s approach to determining

    whether a device meets the Block Limitation and instead opines that membrane specific flow is

    required. D.I. 298-15 §§ VII.A.1.c, VII.B.1.c, VII.C.1.d, VII.D.1.c, VII.E.1.c.




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                                             /s/ Andrew E. Russell
     OF COUNSEL:                             John W. Shaw (No. 3362)
     Gregg LoCascio                          Karen E. Keller (No. 4489)
     Sean M. McEldowney                      Andrew E. Russell (No. 5382)
     Justin Bova                             Nathan R. Hoeschen (No. 6232)
     Steven Dirks                            SHAW KELLER LLP
     Socrates L. Boutsikaris                 I.M. Pei Building
     KIRKLAND & ELLIS LLP                    1105 North Market Street, 12th Floor
     1301 Pennsylvania Avenue, N.W.          Wilmington, DE 19801
     Washington, DC 20004                    (302) 298-0700
     (202) 389-5000                          jshaw@shawkeller.com
                                             kkeller@shawkeller.com
     Jeanne M. Heffernan                     arussell@shawkeller.com
     Kat Li                                  nhoeschen@shawkeller.com
     Ryan J. Melde                           Attorneys for Defendants
     KIRKLAND & ELLIS LLP
     401 Congress Avenue
     Austin, TX 78701
     (512) 678-9100

     Ryan Kane
     Nathaniel DeLucia
     Emily Sheffield
     KIRKLAND & ELLIS LLP
     601 Lexington Avenue
     New York, NY 10022
     (212) 446-4800

     Brian A. Verbus
     Jacob Rambeau
     KIRKLAND & ELLIS LLP
     300 N. LaSalle
     Chicago, IL 60654
     (312) 862-2000

     Noah S. Frank
     KIRKLAND & ELLIS LLP
     200 Clarendon Street
     Boston, MA 02116
     (617) 385-7500

     Dated: November 16, 2023


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                         Exhibit 3
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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

     SIGHT SCIENCES, INC.,                   )
                                             )
                  Plaintiff,                 )
                                             )
       v.                                    ) C.A. No. 21-1317-GBW-SRF
                                             )
     IVANTIS, INC., ALCON RESEARCH           )
     LLC, ALCON VISION, LLC, and ALCON       )
     INC.,                                   )
                                             )
                  Defendants.                )

       ALCON’S RESPONSE TO SIGHT’S CONCISE STATEMENT OF ADDITIONAL
            FACTS IN SUPPORT OF SIGHT’S OPPOSITION TO ALCON’S
                     SUMMARY JUDGMENT MOTION NO. 3

                                                John W. Shaw (No. 3362)
                                                Karen E. Keller (No. 4489)
                                                Andrew E. Russell (No. 5382)
                                                Nathan R. Hoeschen (No. 6232)
     OF COUNSEL:                                SHAW KELLER LLP
     Gregg LoCascio                             I.M. Pei Building
     Sean McEldowney                            1105 North Market Street, 12th Floor
     Justin Bova                                Wilmington, DE 19801
     Steven Dirks                               (302) 298-0700
     Socrates L. Boutsikaris                    jshaw@shawkeller.com
     KIRKLAND & ELLIS LLP                       kkeller@shawkeller.com
     1301 Pennsylvania Avenue, N.W.             arussell@shawkeller.com
     Washington, DC 20004                       nhoeschen@shawkeller.com
     (202) 389-5000                             Attorneys for Defendants

     Jeanne M. Heffernan
     Kat Li
     Ryan J. Melde
     KIRKLAND & ELLIS LLP
     401 Congress Avenue
     Austin, TX 78701
     (512) 678-9100




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     Ryan Kane
     Nathaniel DeLucia
     Emily Sheffield
     KIRKLAND & ELLIS LLP
     601 Lexington Avenue
     New York, NY 10022
     (212) 446-4800

     Brian A. Verbus
     Jacob Rambeau
     KIRKLAND & ELLIS LLP
     300 N. LaSalle
     Chicago, IL 60654
     (312) 862-2000

     Noah Frank
     KIRKLAND & ELLIS LLP
     200 Clarendon Street
     Boston, MA 02116
     (617) 385-7500

     Dated: November 16, 2023




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           1.      Disputed. D.I. 298-17 § XIX; D.I. 298-18 § XXII; D.I. 297 § III.C; D.I. 302.

           2.      Disputed. Sight and its expert have repeatedly applied inconsistent interpretations

    of the Block Limitation. D.I. 339 at 11-14; D.I. 294 at 23-24; Alcon’s Reply ISO Daubert § VII,

    filed concurrently with these Resp. SOF.

           3.      Disputed but immaterial. The Asserted Patents provides non-limiting variables,

    including length, thickness, materials, curvature (D.I. 298-1 at 11:39-59, 12:55-13:46), yet do not

    provide any detailed examples (e.g., the dimensions or features) of any supports to determine

    whether they satisfy the Block Limitation. See generally D.I. 298-1; see also D.I. 298-18 ¶¶ 502-

    03. The Asserted Patents do not describe the two-dimensional Figures 5B-12H as making

    “minimal contact.” D.I. 327 at 9; see also infra ¶5. Dr. Downs did not analyze the amount of

    contact made by supports shown in Figs 5B-12H or have an opinion on whether they were

    implantable or covered by the claims. D.I. 298-24 at 130:22-131:14, 132:15-135:5.

           4.      Disputed but immaterial. There are no “instructive examples.” See supra ¶ 3.

           5.      Disputed. The Asserted Patents do not describe “minimal contact” as a common

    characteristic. See, e.g., D.I. 298-1 at 10:61-65 (“A common characteristic of the support

    configurations described here is that they need not have continuous or extensive contact with a

    wall of Schlemm’s canal. Indeed, many of the described devices and structures have minimal

    tangential, periodic, or sporadic contact with the wall.” (emphasis added)). Minimal and tangential

    contact are claimed in dependent claims and therefore, by definition, cannot be a common

    characteristic. See D.I. 298-1 cls. 2-3, 33-34, and 65-65 (claiming “wherein the support” makes

    “minimal contact” or “tangential contact”). Dr. Downs also testified that minimal contact is not

    sufficient, on its own, to meet the Block Limitation. D.I. 298-24 at 145:16-146-13; id. 140:13-

    141:14.


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            6.      Disputed but immaterial. The Court acknowledged that the Block Limitations are

    terms of degree (i.e., relative), and noted its construction was “without prejudice.” D.I. 134 at 21-

    22; id. at 21 n.1; D.I. 273 at 6-7.

            7.      Disputed but immaterial. At Sight and its expert’s urging, the Court noted that a

    POSA would evaluate whether a support satisfies the Block Limitation “by determining whether

    an increase in aqueous outflux (and therefore a decrease in IOP) has been achieved by the support.”

    D.I. 273 at 6; D.I. 327 at 18-19.

            8.      Disputed. There are no “teachings” in the Asserted Patents of any analytical or

    computational modeling, cadaver eye perfusion testing, or fluorescence studies. And a POSA

    would also not have been able to infer with reasonable certainty how a device functions in vivo

    from any of those undisclosed models or tests or from using their skill, knowledge, and expertise.

    D.I. 301 ¶¶ 7-8 (A POSA would not be able to determine flow of fluid through trabecular

    meshwork in vivo.); D.I. 298-19 ¶ 109; D.I. 340-37 at IVANTIS_SS_00471214 (Sight’s Chief

    Medical Officer stating that “we do not know how fluid flows in the trabecular meshwork or the

    collector channels and we do not have a way to follow outflow”); D.I. 298-23 at 231:2-232:25

    (testifying that technology to visualize fluid flow in the trabecular meshwork or collector channels

    was “definitely not” available in 2006), 236:3-237:7 (“they don’t have clinical records for these

    [cadaver] eyes… it's a problem with getting eyes from eye banks that you don’t always know the

    full ocular history of an eye,” including whether the eyes were diseased), 239:1-8 (“can’t tell

    definitively” where at what portions of Hydrus are shown in fluorescence study image), Ex. 67,

    244:20-245:5 (admitting that fluorescence study “doesn’t conclude that there was flow through the

    windows [of the Hydrus]” and that it would be a “fair reading” that the authors of the fluorescence

    study “don’t know for sure” where the fluid flowed through), Ex. 67, 284:11-285:22 (“hanging



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    your hat on studies like this is dangerous in real life because, you know, models can get you in

    trouble because they can mislead you without experimental validation.”), D.I. 333-16 at 287:16-

    288:12 (“modeling studies…can provide you with some general guidance but you really need to

    do experiments.”); D.I 340-36 at IVANTIS_SS_00344689-690 (study concluding that 15 mm

    version of Hydrus showed similar efficacy compared to 8 mm version despite having more

    openings abutting the trabecular meshwork, suggesting flow through bypass inlet rather than

    through windows); D.I. 340-1 ¶¶ 165-172; D.I. 298-18 ¶ 537. Indeed, Dr. Downs performed no

    analysis on whether any of the embodiments in the Asserted Patents satisfy the Block Limitation.

    D.I. 298-24 at 130:22-131:14, 132:15-135:5. And, any modeling or calculations performed require

    a “whole host” of assumptions that are not described in the Asserted Patents. D.I. 298-24 at 73:9-

    75:6, 77:19-79:21, 80:23-85:6, 98:10-99:13. At the time of Alcon’s statements about prior art,

    Sight’s only interpretation of the Block Limitation was based on increased outflow and whether a

    device permitted flow. D.I. 59-1, Ex. M at 9-13; D.I. 332-5 at 39-41 (opining that prior art devices

    with openings improve outflow). Dr. Downs rejects Alcon’s approach to determining whether a

    device meets the Block Limitation and instead opines that membrane specific flow is required. D.I.

    298-15 §§ VII.A.1.c, VII.B.1.c, VII.C.1.d, VII.D.1.c, VII.E.1.c.

           9.      Disputed. See supra ¶ 8.

           10.     Disputed. See supra ¶ 8.

           11.     Disputed. See supra ¶ 8.

           12.     Disputed. See D.I. 298-18 ¶ 538 (“Dr. Downs provides no analysis regarding how

    long a device would have to be to satisfy his requirement, what shape or configuration a support

    would have to take to create this alleged pressure differential, and how he would measure

    transmural flow specifically across the trabecular meshwork”); see also supra ¶ 8.



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           13.     Disputed. Sight provides no evidence that Alcon made statements to the FDA

    and/or doctors that Hydrus “facilitated fluid flow.” Sight relies on statements reflecting only the

    design intent of the Hydrus to allow fluid to flow through the windows of the device to the extent

    there would be fluid flow across the trabecular meshwork. See D.I. 292-22 at

    IVANTIS_SS_00415712 (The Hydrus’s “[w]indows along the length of the implant allow natural

    trabecular flow through the body of [the] device”), 415721 (“[M]icrostent geometry allows for

    outflow through TM through open windows”); D.I. 292-10 at 94:21-23 (stating “windows provide

    –have multiple functions. One is to allow aqueous flow”); D.I. 292-23 at IVANTIS_SS_00007001

    (“Hydrus Microstent also has 3 large windows that face the trabecular meshwork to allow aqueous

    to easily pass through”); D.I. 292-24 at IVANTIS_SS_00276226 (“[A]queous outflow can still

    occur through the windows.”); D.I 298-14 ¶¶ 87-89, 91, 95-96; D.I. 298-16 ¶¶ 45-49, 51-52, 62.

           14.     Disputed but immaterial. Alcon’s prior art related statements also do not have any

    bearing on the indefiniteness inquiry because at that point, Sight’s only interpretation of the term

    was based on increased outflow and whether a device permitted flow. D.I. 59-1, Ex. M at 9-13;

    see D.I. 332-5 at 39-41 (opining that prior art devices with openings improve outflow). Sight

    insinuates it agrees with this analysis, D.I. 327 at 20, but Dr. Downs actually opines that none of

    the prior art references meet the Block Limitation, ultimately dismissing features of these

    references (e.g., fenestrations, bypass inlets, or surface features designed to minimize contact) that

    would allow flow across the trabecular meshwork as insufficient to show that fluid does flow. See,

    e.g., D.I. 298-15 §§ VII.A.1.c, VII.B.1.c, VII.C.1.d, VII.D.1.c, VII.E.1.c.




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                                           /s/ Andrew E. Russell
     OF COUNSEL:                           John W. Shaw (No. 3362)
     Gregg LoCascio                        Karen E. Keller (No. 4489)
     Sean M. McEldowney                    Andrew E. Russell (No. 5382)
     Justin Bova                           Nathan R. Hoeschen (No. 6232)
     Steven Dirks                          SHAW KELLER LLP
     Socrates L. Boutsikaris               I.M. Pei Building
     KIRKLAND & ELLIS LLP                  1105 North Market Street, 12th Floor
     1301 Pennsylvania Avenue, N.W.        Wilmington, DE 19801
     Washington, DC 20004                  (302) 298-0700
     (202) 389-5000                        jshaw@shawkeller.com
                                           kkeller@shawkeller.com
     Jeanne M. Heffernan                   arussell@shawkeller.com
     Kat Li                                nhoeschen@shawkeller.com
     Ryan J. Melde                         Attorneys for Defendants
     KIRKLAND & ELLIS LLP
     401 Congress Avenue
     Austin, TX 78701
     (512) 678-9100

     Ryan Kane
     Nathaniel DeLucia
     Emily Sheffield
     KIRKLAND & ELLIS LLP
     601 Lexington Avenue
     New York, NY 10022
     (212) 446-4800

     Brian A. Verbus
     Jacob Rambeau
     KIRKLAND & ELLIS LLP
     300 N. LaSalle
     Chicago, IL 60654
     (312) 862-2000

     Noah S. Frank
     KIRKLAND & ELLIS LLP
     200 Clarendon Street
     Boston, MA 02116
     (617) 385-7500

     Dated: November 16, 2023
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                             Exhibit 4
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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

     SIGHT SCIENCES, INC.,                   )
                                             )
                  Plaintiff,                 )
                                             )
       v.                                    ) C.A. No. 21-1317-GBW-SRF
                                             )
     IVANTIS, INC., ALCON RESEARCH           )
     LLC, ALCON VISION, LLC, and ALCON       )
     INC.,                                   )
                                             )
                  Defendants.                )


     ALCON’S RESPONSE TO SIGHT SCIENCES, INC.’S CONCISE STATEMENT OF
    ADDITIONAL FACTS IN SUPPORT OF SIGHT SCIENCES, INC.’S OPPOSITION TO
        ALCON’S MOTION FOR SUMMARY JUDGMENT NO. 4 CONCERNING
                  OBVIOUSNESS-TYPE DOUBLE PATENTING

                                              John W. Shaw (No. 3362)
                                              Karen E. Keller (No. 4489)
                                              Andrew E. Russell (No. 5382)
                                              Nathan R. Hoeschen (No. 6232)
     OF COUNSEL:                              SHAW KELLER LLP
     Gregg LoCascio                           I.M. Pei Building
     Sean McEldowney                          1105 North Market Street, 12th Floor
     Justin Bova                              Wilmington, DE 19801
     Steven Dirks                             (302) 298-0700
     Socrates L. Boutsikaris                  jshaw@shawkeller.com
     KIRKLAND & ELLIS LLP                     kkeller@shawkeller.com
     1301 Pennsylvania Avenue, N.W.           arussell@shawkeller.com
     Washington, DC 20004                     nhoeschen@shawkeller.com
     (202) 389-5000                           Attorneys for Defendants

     Jeanne M. Heffernan
     Kat Li
     Ryan J. Melde
     KIRKLAND & ELLIS LLP
     401 Congress Avenue
     Austin, TX 78701
     (512) 678-9100
Case 1:21-cv-01317-GBW-SRF Document 367 Filed 11/22/23 Page 31 of 38 PageID #: 27663




     Ryan Kane
     Nathaniel DeLucia
     Emily Sheffield
     KIRKLAND & ELLIS LLP
     601 Lexington Avenue
     New York, NY 10022
     (212) 446-4800

     Brian A. Verbus
     Jacob Rambeau
     KIRKLAND & ELLIS LLP
     300 N. LaSalle
     Chicago, IL 60654
     (312) 862-2000

     Noah Frank
     KIRKLAND & ELLIS LLP
     200 Clarendon Street
     Boston, MA 02116
     (617) 385-7500

     Dated: November 16, 2023




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           1.       Disputed but immaterial. The Court denied Sight’s motion to strike. D.I. 342.

           2.       Disputed but immaterial. The Court denied Sight’s motion to strike. D.I. 342.

           3.       Disputed but immaterial. The Court denied Sight’s motion to strike. D.I. 342.

           4.       Undisputed.

           5.       Disputed but immaterial. The Court denied Sight’s motion to strike. D.I. 342.

           6.       Disputed but immaterial. The Court denied Sight’s motion to strike. D.I. 342.

    Whether the ’361 and ’443 patents’ claims are patentably distinct from the ’328 and/or ’742

    patents’ claims “is a question of law,” not fact. See In re Basell Poliolefine Italia S.P.A., 547 F.3d

    1371, 1375 (Fed. Cir. 2008).

           7.       Disputed. It is apparent from the plain language of the claims, the art, and Sight’s

    own admissions or statements that claims 3 and 5 of the ’361 patent would have been obvious over

    the corresponding claims of the ’328 Patent listed in D.I.297-1, Appendix X:

      ’361 Patent             ’328 Patent                    Sight’s Admissions/Statements
     3. The method 4. The method of claim 1,         D.I. 298-5, ’328 Patent, 17:58-60 (“[A] high
       of claim 1,    further comprising             viscosity fluid such as sodium hyaluronate, or
       wherein the    dilating Schlemm’s             other dilating fluids known in the art, can be
       high           canal prior to inserting       used to dilate the canal.”).
       viscosity      the support.                   Ex. 66, Sight’s Galanis Op. Rep. ¶99 (“Most
       fluid is     5. The method of claim 4,        clinicians, including myself, prefer sodium
       sodium         wherein Schlemm’s              hyaluronate for viscodilation of Schlemm’s
       hyaluronate.   canal is dilated by            canal due to its high viscosity properties.”).
                      injecting fluid into the
                      canal.
     5. The method 21. The method of claim 1,        Ex. 79, Sight’s Final Infringement Contentions,
       of claim 1,   wherein when the                Ex. C, 33–34 (identifying Hydrus’s windows as
       wherein the   support is inserted within      “fenestrations”), 39–40 (alleging fenestrations
       support       a cylindrical section of        create multiple contact points).
       contacts the  the lumen of Schlemm’s           Ex. 81, Sight’s Final Infringement Contentions,
       interior wall canal having an internal        Ex. E, 61–70 (alleging Hydrus windows reduce
       of the canal  wall surface area C, the        the percentage of stent contact with Schlemm’s
       at least at   support contacts less           canal)
       three points.
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      ’361 Patent                ’328 Patent                   Sight’s Admissions/Statements
                          than 30% of the surface     D.I. 298-5, ’328 Patent, 14:52–53 (“The
                          area of C.                  fenestrations can be created to make support 122
                                                      more porous in nature.”).
                                                      D.I. 298-14, Downs Op. Rep. ¶115 (“I have
                                                      identified a point of discontinuous contact along
                                                      a cross-sectional perimeter that results from the
                                                      windows of the [Hydrus]”).
           8.         Disputed. It is apparent from the plain language of the claims, the art, and Sight’s

    own admissions or statements that claims 42, 43, 54, 55, 58, 59, 70, and 71 of the ’443 Patent

    would have been obvious over the corresponding claims of the ’742 Patent listed in D.I.297-1,

    Appendix X:

     ’443 Patent                    ’742 Patent                    Sight’s Admissions/Statements

     42. The           2. The method of claim 1, wherein the Ex. 78, Sight’s Final Infringement
     device of         support has at least one fenestration. Contentions, Ex. B at 74–76 (alleging
     claim 1           12. The method of claim 1, wherein fenestrations or “pores” create multiple
     wherein the       at least a portion of the support is contact points).
     support is        porous.                               Ex. 80, Sight’s Final Infringement
     configured to
     contact a         13. The method of claim 1, wherein Contentions, Ex. D, 35–46 (alleging
     wall of           when the support is disposed within a Hydrus windows reduce the percentage
     Schlemm’s         cylindrical section of the lumen of of stent contact with Schlemm’s canal)
     canal at least    Schlemm’s canal having an internal D.I. 298-4,’742 Patent, 14:49–50 (“The
     at two            wall surface area C, the support fenestrations can be created to make
     points.           contacts less than 30% of C.          support [] more porous in nature.”).
                                                                D.I. 298-14, Sight’s Downs Op. Rpt.
                                                                ¶115 (“I have identified a point of
                                                                discontinuous contact along a cross-
                                                                sectional perimeter that results from the
                                                                windows of the [Hydrus]”).
     43. The           2. The method of claim 1, wherein the D.I. 298-4,’742 Patent, 14:49–50 (“The
     device of         support has at least one fenestration. fenestrations can be created to make
     claim 42          12. The method of claim 1, wherein support 122 more porous in nature.”).
     wherein the       at least a portion of the support is D.I. 298-14, Sight’s Downs Op. Rpt.
     support is
                       porous.                               ¶115 (“I have identified a point of
     configured to
     contact a         13. The method of claim 1, wherein discontinuous contact along a cross-
     wall of           when the support is disposed within a sectional perimeter that results from the
                                                             windows of the [Hydrus]”).

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     ’443 Patent                   ’742 Patent                       Sight’s Admissions/Statements
     Schlemm’s        cylindrical section of the lumen of         Ex. 78, Sight’s Final Infringement
     canal at least   Schlemm’s canal having an internal          Contentions, Ex. B at 74–76 (alleging
     at three         wall surface area C, the support            fenestrations or “pores” create multiple
     points.          contacts less than 30% of C.                contact points).
                                                                  Ex. 80, Sight’s Final Infringement
                                                                  Contentions, Ex. D, 35–46 (alleging
                                                                  Hydrus windows reduce the percentage
                                                                  of stent contact with Schlemm’s canal)
     54. The          1. A method for treating an eye             D.I. 298-4,’742 Patent, 9:9–21 (“Beads
     device of        condition, comprising: implanting a         can have cross-sectional dimensions in
     claim 1          support within Schlemm’s canal,             the range from about 50 microns to
     wherein the      wherein the support comprises an            about 500 microns. Insertion of beads
     support has a    arcuate member, wherein at least a          …into Schlemm’s canal open the canal
     cross-           portion of the arcuate member has a         ….”)
     sectional        radius of curvature smaller than the        D.I. 298-24, 9/28 Downs Tr. at 91:14-
     diameter of      radius of curvature of Schlemm’s            93:2 (“…to actually do what a prop
     about 50         canal such that at least a portion of the   does, yes, you would need some
     microns to       arcuate member extends out of               particular rigidity…”).
     about 500        Schlemm’s canal. (emphasis added)
     microns.
                      16. The method of claim 1, wherein
                      the support is rigid.
     55. The          1. A method for treating an eye             D.I. 298-4, ’742 Patent, 2:38–39
     device of        condition, comprising: implanting a         (“Schlemm’s     canal    is  small,
     claim 1          support within Schlemm’s canal,             approximately 190-370 microns in
     wherein the      wherein the support comprises an            cross-sectional    diameter,   and
     support has a    arcuate member, wherein at least a          circular.”).
     cross-           portion of the arcuate member has a         D.I. 298-24, 9/28 Downs Tr. at 91:14-
     sectional        radius of curvature smaller than the        93:2 (“…to actually do what a prop
     diameter of      radius of curvature of Schlemm’s            does, yes, you would need some
     about 190        canal such that at least a portion of the   particular rigidity…”).
     microns to       arcuate member extends out of
     about 370        Schlemm’s canal. (emphasis added)
     microns.         16. The method of claim 1, wherein
                      the support is rigid.

    The only “distinction” Sight highlights between claims 58, 70, and 71 of the ’443 patent and the

    ’742 patents’ claims is the non-limiting “kit” in the preamble, and Sight does not dispute that the

    device plus introducer in the ’742 Patent claims would be a “kit” even if limiting. D.I. 339

    § III.A.1; Geneva Pharms., Inc. v. GlaxoSmithKline PLC, 349 F.3d 1373, 1385-86 (Fed. Cir. 2003)

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    (holding invalid for ODP a patent claiming a method for using a compound that was already

    claimed in an earlier patent). And the recitation of including instructions with the kit in claim 59

    of the ’443 patent would have been, at a minimum, obvious. See Ormco Corp. v. Align Tech., Inc.,

    463 F.3d 1299, 1309 (Fed. Cir. 2006) (“[A]dding the instructions limitation does not render claim

    1 of the ’611 patent non-obvious.”); D.I. 340-21, Parrish Tr. at 163:3–166:17.

           9.      Disputed. During prosecution of the ’328 patent, the Examiner evaluated whether

    the claims of the ’328 Patent were invalid for ODP over the claims of the ’361 and/or ’443 patents

    by analyzing whether the claims were patentably distinct, which necessarily required an

    obviousness determination. See D.I. 298-8 ¶2 (noting ODP is appropriate “because the examined

    application claim … would have been obvious over, the reference claim(s)”); id. ¶3 (“[W]here the

    only difference between the prior art and the claims was a recitation of relative dimensions … the

    claimed device was not patentably distinct from the prior art device.”); id. ¶¶4–6 (“Although the

    claims at issue are not identical, they are not patentably distinct from each other …. Taken together,

    the patented claims suggest the instantly claimed method.”).

           10.     Disputed. During prosecution of the ’742 Patent, the Examiner evaluated whether

    the claims of the ’742 Patent were invalid for ODP over the claims of the ’361 and/or ’443 patents

    by analyzing whether the claims were patentably distinct, which necessarily required an

    obviousness determination. See D.I. 298-6 ¶5 (noting ODP is appropriate “because the examined

    application claim … would have been obvious over, the reference claim(s)”).

           11.     Undisputed. Sight stated that one chart showed the “similar scope” of the claims.

           12.     Undisputed. Sight stated that one chart showed the “similar scope” of the claims.




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                                             /s/ Andrew E. Russell
     OF COUNSEL:                             John W. Shaw (No. 3362)
     Gregg LoCascio                          Karen E. Keller (No. 4489)
     Sean M. McEldowney                      Andrew E. Russell (No. 5382)
     Justin Bova                             Nathan R. Hoeschen (No. 6232)
     Steven Dirks                            SHAW KELLER LLP
     Socrates L. Boutsikaris                 I.M. Pei Building
     KIRKLAND & ELLIS LLP                    1105 North Market Street, 12th Floor
     1301 Pennsylvania Avenue, N.W.          Wilmington, DE 19801
     Washington, DC 20004                    (302) 298-0700
     (202) 389-5000                          jshaw@shawkeller.com
                                             kkeller@shawkeller.com
     Jeanne M. Heffernan                     arussell@shawkeller.com
     Kat Li                                  nhoeschen@shawkeller.com
     Ryan J. Melde                           Attorneys for Defendants
     KIRKLAND & ELLIS LLP
     401 Congress Avenue
     Austin, TX 78701
     (512) 678-9100

     Ryan Kane
     Nathaniel DeLucia
     Emily Sheffield
     KIRKLAND & ELLIS LLP
     601 Lexington Avenue
     New York, NY 10022
     (212) 446-4800

     Brian A. Verbus
     Jacob Rambeau
     KIRKLAND & ELLIS LLP
     300 N. LaSalle
     Chicago, IL 60654
     (312) 862-2000

     Noah S. Frank
     KIRKLAND & ELLIS LLP
     200 Clarendon Street
     Boston, MA 02116
     (617) 385-7500

     Dated: November 16, 2023



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                                     CERTIFICATE OF SERVICE

           I hereby certify that on November 16, 2023, this document was served on

    zsightsciencesivantis@cooley.com and the persons listed below in the manner indicated:

      BY EMAIL
      Melanie K. Sharp                                 Michelle S. Rhyu, J.D., Ph.D.
      James L. Higgins                                 Lauren Strosnick
      Taylor E. Hallowell                              Alissa Wood
      YOUNG, CONAWAY, STARGATT & TAYLOR LLP            Angela R. Madrigal
      Rodney Square                                    Juan Pablo Gonzalez
      1000 North King Street                           Jeffrey Karr
      Wilmington, DE 19801                             COOLEY LLP
      (302) 571-6600                                   3175 Hanover Street
      msharp@ycst.com                                  Palo Alto, CA 94305
      jhiggins@ycst.com                                (650) 843-5000
      thallowell@ycst.com                              rhyums@cooley.com
                                                       lstrosnick@cooley.com
      Orion Armon                                      amwood@cooley.com
      COOLEY LLP                                       jgonzalez@cooley.com
      1144 15th Street, Suite 2300                     amadrigal@cooley.com
      Denver, CO 80202                                 jkarr@cooley.com
      (720) 566-4000
      oarmon@cooley.com                                Bonnie Fletcher Price
                                                       COOLEY LLP
      Dustin M. Knight                                 1299 Pennsylvania Avenue, NW
      Joseph Van Tassell                               Suite 700
      COOLEY LLP                                       Washington, DC 20004
      11951 Freedom Drive, 14th Floor                  (202) 776-2099
      Reston, VA 20190                                 bfletcherprice@cooley.com
      (703) 456-8024
      dknight@cooley.com
      jvantassell@cooley.com
Case 1:21-cv-01317-GBW-SRF Document 367 Filed 11/22/23 Page 38 of 38 PageID #: 27670




                                           /s/ Andrew E. Russell
                                           John W. Shaw (No. 3362)
                                           Karen E. Keller (No. 4489)
                                           Andrew E. Russell (No. 5382)
                                           Nathan R. Hoeschen (No. 6232)
                                           SHAW KELLER LLP
                                           I.M. Pei Building
                                           1105 North Market Street, 12th Floor
                                           Wilmington, DE 19801
                                           (302) 298-0700a
                                           jshaw@shawkeller.com
                                           kkeller@shawkeller.com
                                           arussell@shawkeller.com
                                           nhoeschen@shawkeller.com
                                           Attorneys for Defendants
